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            Aviva Stahl v. Federal Bureau of Prisons, and Department of Justice
                         Case No. 19-cv-4142 (BMC) (E.D.N.Y.)
                                     Stahl Declaration
                                        Exhibit C
         Case 1:19-cv-04142-BMC                    Document 19-5           Filed 02/10/20         Page 2 of 8 PageID #: 270
                                                       Bureau of Prisons
                                                        Health Services
                                                       Clinical Encounter
Inmate Name: SALAMEH , MOHAMMAD                                                                      Reg #: 34338-054
Date of Birth : 09/19/ 1967                                Sex:      M   Race: WHITE                 Facility: FLM
Encounter Date: 11/04/2015 10:05                           Provider: Huddleston, R. EMT              Unit:     L01


Nursing - Hunger Strike Note encounter performed at Health Services.
SUBJECTIVE:
    COMPLAINT 1                   Provider: Huddleston, R. EMT
       Chief Complaint: Pain
       Subjective: Inmate continuing with his hunger strike. He has missed 75 meals as of the morning meal.
                    He appears to be slightly lethargic and irritated this morning , not responding to medical
                    questions appropriately. He states he does have dizziness, weakness, cramping and states
                    he thinks he has an arrhythmia sometimes.
       Pain:        Yes
       Pain Assessment
         Date:                          11/04/2015 11 :29
         Location:                      Multiple Locations
          Quality of Pain :             Cramping
          Pain Scale:                   8
          Intervention:                 2000 cc's of Normal Saline.
          Trauma Date/Year:
          Injury:
          Mechanism:
          Onset:                        1-2 Weeks
          Duration:                     1-2 Weeks
          Exacerbating Factors: not eating and hydrating.
          Relieving Factors :           eating and hydrating.
          Comments :

OBJECTIVE:
Temperature:
    .!lm              Time              Fahrenheit    Celsius Location                 Provider
    11 /04/2015       10:05 FLX               97.5         36.4 Tympanic               Huddleston, R. EMT
Pulse:
     ~              Time             Ratg Pgr Minuig         LQkatiQn                  Rhythm       Provider
     11/04/2015 11 :27 FLX                           97      Via Machine                            Huddleston, R. EMT
     11 /04/2015 11 :26 FLX                          95      Via Machine                            Huddleston, R. EMT
     11/04/2015 11 :25 FLX                           95      Via Machine                            Huddleston, R. EMT
     11 /04/2015 10:06 FLX                           155     Via Machine               Regular      Huddleston, R. EMT
     11/04/2015 10:05 FLX                            132     Apical                    Regular      Huddleston, R. EMT
Respirations:
     Date                  Time              Rate Per Minute Provider
     11 /04/2015           11 :27 FLX                         16 Huddleston, R. EMT
     11/04/2015            11:26 FLX                          16 Huddleston, R. EMT
     11 /04/2015           11:25 FLX                          16 Huddleston, R. EMT


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          Case 1:19-cv-04142-BMC                   Document 19-5            Filed 02/10/20          Page 3 of 8 PageID #: 271
Inmate Name: SALAMEH , MOHAMMAD                                                                        Reg #: 34338-054
Date of Birth : 09/19/1967                                  Sex:      M   Race: WHITE                  Facility: FLM
Encounter Date: 11/04/2015 10:05                            Provider: Huddleston, R. EMT               Unit:     L01

     Date                 Time               Rate Per Minute Provider
     11/04/2015           10:06 FLX                            16 Huddleston, R. EMT
     11/04/2015           10:05 FLX                            16 Huddleston, R. EMT
Blood Pressure:
     Date          Time           Value        Location           Position              Cuff Size    Provider
     11/04/2015 11 :27 FLX        136/95       Right Arm          Standing                           Huddleston, R. EMT
     11 /04/2015 11 :26 FLX       139/92       Right Arm          Standing              Adult-regular Huddleston, R. EMT
     11 /04/2015 11':25 FLX       135/92       Right Arm          Lying                 Adult-regular Huddleston, R. EMT
     11 /04/2015 10:06 FLX        139/107      Left Arm           Standing              Adult-regular Huddleston, R. EMT
     11 /04/2015 10:05 FLX        131/94       Left Arm           Lying                 Adult-regular Huddleston, R. EMT
Weight:
     Date             Time                 Lbs        Kg Waist Circum. PrQvider
     11/04/2015       10:05 FLX           142.4      64.6                        Huddleston, R. EMT
Exam:
   General
      Affect
           Yes: Irritable, Agitated
             No: Pleasant, Cooperative
          Appearance
             Yes: Alert and Oriented x 3, Lethargic, Appears in Pain, Pale, Disheveled
    Skin
        General
           Yes: Dry, Skin Intact, Warmth
               No: Tenting
    Head
       General
          Yes: Symmetry of Motor Function, Atraumatic/Normocephalic, Facial Asymmetry
    Eyes
       General
          Yes: PERRLA, Extraocular Movements Intact
    Nose
       General
          Yes: Nares Patent
     Lips
         General
            Yes: Dryness
     Mouth
        General
           Yes: Dryness
          Mucosa
             Yes : Dryness
          Tongue
             Yes: Dryness
    Neck
       General
          Yes: Within Normal Limits, Symmetric, Trachea Midline
     Pulmonary

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          Case 1:19-cv-04142-BMC                   Document 19-5        Filed 02/10/20         Page 4 of 8 PageID #: 272
Inmate Name: SALAMEH , MOHAMMAD                                                                   Reg #: 34338-054
Date of Birth : 09/19/1967                              Sex:      M   Race: WHITE                 Facility: FLM
Encounter Date: 11/04/2015 10:05                        Provider: Huddleston, R. EMT              Unit:     L01

Exam:
          Observation/Inspection
             Yes : Within Normal Limits
             No: Respiratory Distress
          Auscultation
             Yes: Clear to Auscultation, Vesicular Breath Sounds Bilaterally
    Cardiovascular
       Observation
           Yes : Within Normal Limits , Normal Rate, Regular Rhythm
    Peripheral Vascular
        General
            Yes: Within Normal Limits

ASSESSMENT:
         Dehydration
         SIS of dehydration.

PLAN:

New Laboratory Requests:
     Details                                              Frequency                     Due Date               Priority
     Lab Tests - Short List-General-Comprehensive One Time                    11/04/2015 00:00                 Today
     Metabolic Profile
     Lab Tests-P-Prealbumin
         Lab personnel verbally notified of a priority order of Today or Stat




Disposition:
     Follow-up at Sick Call as Needed

Other:
    Inmate received 2000 cc of normal saline via IV, verbal order from Dr. Santini. He tolerated the procedure well with out
    any complications. Follow up per hunger strike protocol.

Patient Education Topics:
     Date Initiated Format               Handout/Topic                              Provider            Outcome
    11 /04/2015       Counseling         Diet                                       Huddleston, R.      No Evidence of
                                                                                                        Learning
          Spoke about eating his assigned food tray and proper hydration.




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         Case 1:19-cv-04142-BMC                    Document 19-5        Filed 02/10/20   Page 5 of 8 PageID #: 273
Inmate Name: SALAMEH , MOHAMMAD                                                             Reg #: 34338-054
Date of Birth : 09/19/1967                              Sex:      M   Race: WHITE           Facility: FLM
Encounter Date: 11/04/2015 10:05                        Provider: Huddleston, R. EMT        Unit:     L01

Copay Required: No                           Cosign Required: Yes
Telephone/Verbal Order:         No


Completed by Huddleston, R. EMT on 11/04/2015 11:47
Requested to be cosigned by Santini, G. MD/CD.
Cosign documentation will be displayed on the following page.




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                                                          Bureau of Prisons
                                                           Health Services
                                                          Clinical Encounter
Inmate Name: SALAMEH , MOHAMMAD                                                                         Reg #: 34338-054
Date of Birth : 09/19/ 1967                                   Sex:      M   Race: WHITE                 Facility: FLM
Encounter Date: 11 /11 /201510:55                             Provider: Osagie, A. MLP                  Unit:     L01


Mid Level Provider - Hunger Strike Note encounter performed at Health Services.
SUBJECTIVE:
     COMPLAINT 1                  Provider: Osagie, A. MLP
       Chief Complaint: Deconditioned
       Subjective: Pt. has continued to refuse his meals and has missed a total of 97 meals as of lunch today.
                    He states, "Watch it, I am going to be the first one to die from hunger strike because of this
                    guy (pointing to provider) ." He refused to answer direct questions about his health.
       Pain:        Not Applicable




OBJECTIVE:
Temperature:
    .o.am             Time             Fahrenheit       Celsius Location                  Provider
     11 /11 /2015      12:25 FLX                96.3          35.7 Tympanic               Osagie, A. MLP
Pulse :
     .D.am          Time              Rate Per Minute           LoQatiQn                   Rh~thm      PrQvider
     11 /11 /2015 12:28 FLX                            115      Via Machine               Regular     Osagie, A . MLP
     11 /11 /2015 12:27FLX                             90       Via Machine               Regular     Osagie, A. MLP
     11 /11 /2015 12:27 FLX                            110      Via Machine               Regular     Osagie, A. MLP
     11 /11 /20 15 12:26 FLX                           162      Via Machine               Regular     Osagie, A. MLP
     11 / 11/2015 12:26 FLX                            108      Via Machine               Regular     Osagie, A. MLP
     11 /11 /2015 12:25 FLX                            147      Via Machine               Regular     Osagie, A. MLP
Respirations:
     .o.am                 Time                 Rate Per Minute PrQvider
     11 /11 /2015          12:25 FLX                            14 Osagie, A. MLP
Blood Pressure:
     Date           Time           Value          Location         Position              Cuff Size    Provider
     11 /11 /2015 12:28 FLX        132/91         Left Arm         Standing              Adult-regular Osagie, A. MLP
     11 /11 /20 15 12:27 FLX       140/98         Left Arm         Lying                 Adult-regular Osagie, A. MLP
     11 /11 /2015 12:27 FLX        135/94         Left Arm         Sitting               Adult-regular Osagie, A. MLP
     11 /11 /20 15 12:26 FLX       134/95         Le.ft Arm        Lying                 Adult-regular Osagie, A. MLP
     11 /11/2015 12:26 FLX         125/78         Left Arm         Standing              Adult-regular Osagie, A. MLP
     11 /11 /2015 12:25 FLX        142/91         Left Arm         Sitting               Adult-regular Osagie, A. MLP
Height:
     Date           Time               Inches                 Cm     Provider
     11 /11/2015 12:25 FLX                 69.0           175.3      Osagie, A. MLP
Weight:
     Date             Time                  Lbs         Kg Waist Circum. Provider
     11 /11/2015      12:25 FLX            139.0       63.1                       Osagie, A. MLP
Exam:
Generated 111111201 5 12:40 by Osagie, A. MLP                  Bureau of Prisons - FLM                                     Page 1 of 3
         Case 1:19-cv-04142-BMC                Document 19-5        Filed 02/10/20      Page 7 of 8 PageID #: 275
Inmate Name: SALAMEH , MOHAMMAD                                                            Reg #: 34338-054
Date of Birth : 09/19/1967                          Sex:      M   Race: WHITE              Facility: FLM
Encounter Date: 11/11/201510:55                     Provider: Osagie, A. MLP               Unit:     L01

Exam:
   Diagnostics
       Laboratory
          Yes: Results
    General
       Affect
            Yes: Irritable
             No: Cooperative
          Appearance
             Yes: Alert and Oriented x 3, Cachectic, Lethargic, Appears in Pain, Pale
              No: Appears Well, Jaundiced, Dyspneic, Acutely Ill
          Nutrition
              Yes: Poor food intake, Tube feedings, Appears Malnourished
    Skin
        General
           Yes : Dry, Skin Intact
               No: Tenting
     Lips
         General
            Yes: Dryness
               No: Cheilitis
    Mouth
       Tongue
          Yes: Dryness, Coating
    Pulmonary
       Auscultation
           Yes: Clear to Auscultation
            No: Crackles
    Cardiovascular
       Observation
           Yes: Tachycardia
          Auscultation
             Yes: Normal S1 and S2
           No: M/R/G
    Abdomen
       Inspection
           Yes: Scaphoid
          Auscultation
             Yes: Hyper-Active Bowel Sounds
          Palpation
              Yes: Soft, Tenderness on Palpation
               No: Guarding, Mass(es), Hepato-Splenomegaly

 Comments
    HEENT: Eyes appear sunken
    Pt. appears weak, irritable and ambulates sluggishly.
    UA: Moderate (40) ketones.
ASSESSMENT:

              Effects of hunger, 994.2 - Resolved, History/Resolved, Worsened
Generated 1111112015 12:40 by Osagie, A. MLP          Bureau of Prisons - FLM                                 Page 2 of 3
         Case 1:19-cv-04142-BMC                   Document 19-5         Filed 02/10/20         Page 8 of 8 PageID #: 276
Inmate Name: SALAMEH , MOHAMMAD                                                                    Reg #: 34338-054
Date of Birth : 09/19/1967                              Sex:      M   Race: WHITE                  Facility: FLM
Encounter Date: 11/11/201510:55                         Provider: Osagie, A. MLP                   Unit:     L01

PLAN:

Disposition:
     Follow-up at Sick Call as Needed
     Follow-up in 48-72 Hours

Other:
    Evaluation was completed , but pt. appears compromised physiologically. Per physician, pt. requires medical
    intervention via involuntary tube rehydration . Involuntary tube feeding procedure was performed. Next evaluation will
    be in 48-72 hrs.

Patient Education Topics:
     Date Initiated Format               Handout/Topic                              Provider             Outcome
     11/11/2015       Counseling          Diet                                      Osagie, A .. Verbalizes
                                                                                                 Understanding
          Pt was encouraged to resume eating and drinking as appropriate. He was instructed on the tube feeding
          procequre.


Copay Required:No                              Cosign Required: No
Telephone/Verbal Order:         No


Completed by Osagie, A. MLP on 11 / 11/2015 12:40




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